Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 1 of 13 PageID #: 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


CARLOS RUIZ FLOREZ,
          Plaintiff,
vs.

EMMONS AVENUE MARINA, LLC and
LIV ROCK REST CORP.,
           Defendants.


                                            COMPLAINT

          Plaintiff, CARLOS RUIZ FLOREZ (“Plaintiff”), by his undersigned counsel, hereby files

this Complaint against Defendants, EMMONS AVENUE MARINA, LLC and LIV ROCK

REST CORP. (“Defendants”) for injunctive relief pursuant to the Americans with Disabilities

Act, 42 U.S.C. § 12181, et seq., (the ADA) and the ADA’s Accessibility Guidelines, 28 C.F.R.

Part 36 (hereinafter the “ADAAG”). This matter concerns Plaintiff’s visits to a restaurant located

at 3939 Emmons Avenue, Brooklyn, New York 11235, CLEMENTE’S MARYLAND CRAB

HOUSE, wherein Plaintiff encountered several barriers which have and will deter him from

visiting the restaurant in the future. Plaintiff’s past visit and his desire to return are fully set forth

herein.

                                           JURISDICTION

          1.     This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331

and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendants’

violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

          2.     Plaintiff currently resides in the Queens, New York.




                                                    1
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 2 of 13 PageID #: 2




       3.      Plaintiff suffered a spinal cord injury as a child complete from the T-7 to T-11,

has paraplegia, and is bound to ambulate in a wheelchair. He is a qualified individual with

disabilities under the ADA.

       4.      Plaintiff visited the subject property located at 3939 Emmons Avenue, Brooklyn,

New York 11235 (the “Facility”) to enjoy the goods and services offered therein and

encountered barriers to access. Plaintiff desires and intends to return to the Facility to enjoy to

goods and services offered therein. However, his access to the Facility continues to be denied

and/or substantially limited. His access will continue to be denied until Defendants remove the

barriers, including those set forth in the Complaint at Paragraph 15 below.

       5.      Defendant, EMMONS AVENUE MARINA, LLC, transacts business in the State

of New York and within this judicial district. Defendant, EMMONS AVENUE MARINA, LLC,

is the owner and/or lessor, of the real property located at 3939 Emmons Avenue, Brooklyn, New

York 11235 where the restaurant known as CLEMENTE’S MARYLAND CRAB HOUSE is

located (the “Facility”).

       6.      Defendant, LIV ROCK REST CORP., transacts business in the State of New

York and within this judicial district. Defendant, LIV ROCK REST CORP., is the lessee of the

Facility located at 3939 Emmons Avenue, Brooklyn, New York, 11235 and the owner and/or

operator of a restaurant known as CLEMENTE’S MARYLAND CRAB HOUSE (the “Facility”).

       7.      The Facility is a place of public accommodation under the ADA.

       8.      Plaintiff has suffered legal harm and injury in fact, as he visited the Facility to

enjoy the goods and services provided therein, encountered barriers to access, and desires and

intends to re-visit the Facility again, but is unable to do so until the barriers to access are

remediated.




                                                2
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 3 of 13 PageID #: 3




        9.      The barriers alleged in Paragraph 15, by their very nature, prevent Plaintiff and

other wheelchair bound patrons from accessing the premises and enjoying the goods and services

offered therein.

        10.     The removal of the alleged barriers can be accomplished without much difficulty

or expense.

        11.     All events giving rise to this lawsuit occurred in the State of New York. Venue is

proper in this Court as the premises is in the Southern District.

                           FACTUAL ALLEGATIONS AND CLAIM

        12.     Plaintiff attempted to access the Facility in June 2023 and July 17, 2023 to enjoy

the fresh seafood, Italian dishes and outdoor, waterside dining, but could not do so without

substantial hardship due to his disability, which requires him to ambulate in a wheelchair, and

the significant barriers to access existing at the Facility.

        13.     Plaintiff intends to visit the Facility in the summer of 2024 to celebrate with

family and friends. However, his access to the Facility continues to be denied and/or

substantially limited. His access will continue to be denied until Defendants remove the barriers,

including those set forth in the Complaint at Paragraph 15 below.

        14.     Defendants have discriminated against Plaintiff by denying him full access to the

goods, services and/or accommodations of the Facility, as prohibited by 42 U.S.C., § 12182, et.

seq., and by failing to remove architectural barriers as required by 42 U.S.C., §

12182(b)(2)(A)(iv), will continue to discriminate against Plaintiff unless and until Defendants

remove all physical barriers including those specifically set forth below.

        15.     Defendants have discriminated against Plaintiff by failing to remedy the ADA

violations, which by their nature, affect Plaintiff and other wheelchair bound plaintiffs. A




                                                   3
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 4 of 13 PageID #: 4




specific list of ADA violations which preclude and/or limit Plaintiff’s ability to access the

facility and to enjoy the goods and services offered therein, include the following:

            I. Required minimum amount of compliant accessible parking spaces not provided
               within existing parking area.
                 ADAAG 208 Parking Spaces ADAAG 208.1 General.
                 Where parking spaces are provided, parking spaces shall be provided in
                 accordance with 208.
                 ADAAG 208.2 Minimum Number.
                 Parking spaces complying with 502 shall be provided in accordance with Table
                 208.2 except as required by 208.2.1, 208.2.2, and 208.2.3. Where more than one
                 parking facility is provided on a site, the number of accessible spaces provided on
                 the site shall be calculated according to the number of spaces required for each
                 parking facility.
           II.   Accessible route leading to entrance not provided as required.
          III.   The first of two travels path leading to entrance is inaccessible.
          IV.    Existing raised curb at the first of two travel paths leading to entrance acts as a
                 barrier to accessibility.
           V.    Compliant ramp not provided for raised curb at the first of two travel paths
                 leading to entrance.
              ADAAG 206.2.5 Restaurants and Cafeterias.
              In restaurants and cafeterias, an accessible route shall be provided to all dining
              areas, including raised or sunken dining areas, and outdoor dining areas.
              ADAAG 206 Accessible Routes ADAAG 206.1 General.
              Accessible routes shall be provided in accordance with 206 and shall comply with
              Chapter 4.
              ADAAG 403 Walking Surfaces ADAAG 403.4 Changes in Level. Changes in
              level shall comply with 303
              ADAAG 303.4 Ramps.
              Changes in level greater than ½ inch high shall be ramped, and shall comply with
              405 or 406.
         VI. Non-compliant existing ramp at second of two travel paths to entrance.
         VII. Non-compliant slope of existing ramp at second of two travel paths to entrance
              exceeds maximum slope allowance.
                 ADAAG 206 Accessible Routes ADAAG 206.1 General.
                 Accessible routes shall be provided in accordance with 206 and shall comply with
                 Chapter 4.
                 ADAAG 402 Accessible Routes ADAAG 402.1 General.
                 Accessible routes shall comply with 402.
                 ADAAG 402.2 Components.
                 Accessible routes shall consist of one or more of the following components:
                 walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
                 curb ramps excluding the flared sides, elevators, and platform lifts. All


                                                  4
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 5 of 13 PageID #: 5




            components of an accessible route shall comply with the applicable requirements
            of Chapter 4.
            ADAAG 405 Ramps ADAAG 405.1 General.
            Ramps on accessible routes shall comply with 405.
            ADAAG 405.2 Slope.
            Ramp runs shall have a running slope not steeper than 1:12.
      VIII. Non-compliant openings at surface of existing ramp at the second of two travel
            paths leading to entrance.
              ADAAG 402 Accessible Routes ADAAG 402.1 General.
              Accessible routes shall comply with 402.
              ADAAG 402.2 Components.
              Accessible routes shall consist of one or more of the following components:
              walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
              curb ramps excluding the flared sides, elevators, and platform lifts. All
              components of an accessible route shall comply with the applicable requirements
              of Chapter 4.
              ADAAG 403 Walking Surfaces ADAAG 403.1 General.
              Walking surfaces that are a part of an accessible route shall comply with 403.
              ADAAG 403.2 Floor or Ground Surface.
              Floor or ground surfaces shall comply with 302.
              ADAAG 302 Floor or Ground Surfaces.
              ADAAG 302.3 Openings.
              Openings in floor or ground surfaces shall not allow passage of a sphere more
              than ½ inch (13 mm) diameter except as allowed in 407.4.3, 409.4.3, 410.4,
              810.5.3 and 810.10.
              Elongated openings shall be placed so that the long dimension is perpendicular to
              the dominant direction of travel.
       IX.    Inaccessible interior bar.
        X.    Accessible route to interior bar not provided as required.
       XI.    Existing step at travel path leading to interior bar acts as a barrier to accessibility.
       XII.   Required ramp not provided for step at travel path leading to interior bar
              ADAAG 206.2.5 Restaurants and Cafeterias.
              In restaurants and cafeterias, an accessible route shall be provided to all dining
              areas, including raised or sunken dining areas, and outdoor dining areas.
              ADAAG 206 Accessible Routes ADAAG 206.1 General.
              Accessible routes shall be provided in accordance with 206 and shall comply with
              Chapter 4.
              ADAAG 402 Accessible Routes ADAAG 402.1 General.
              Accessible routes shall comply with 402.
              ADAAG 402.2 Components.
              Accessible routes shall consist of one or more of the following components:
              walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
              curb ramps excluding the flared sides, elevators, and platform lifts. All
              components of an accessible route shall comply with the applicable requirements
              of Chapter 4.


                                                 5
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 6 of 13 PageID #: 6




            ADAAG 403 Walking Surfaces ADAAG 403.4 Changes in Level. Changes in
            level shall comply with 303
            ADAAG 303.4 Ramps.
            Changes in level greater than ½ inch high shall be ramped, and shall comply with
            405 or 406.
      XIII. Non-compliant height of bar exceeds maximum height allowance. Required
            minimum knee and toe clearance not provided at bar. Portion of bar required to be
            accessible not provided.
             ADAAG 226 Dining Surfaces and Work Surfaces ADAAG 226.1 General.
             Where dining surfaces are provided for the consumption of food or drink, at least
             5 percent of the seating spaces and standing spaces at the dining surfaces shall
             comply with 902.
             ADAAG 902 Dining Surfaces and Work Surfaces ADAAG 902.1 General.
             Dining surfaces and work surfaces shall comply with 902.2 and 902.3.
             Advisory 902.1 General.
             Dining surfaces include, but are not limited to, bars, tables, lunch counters, and
             booths.
             ADAAG 902.2 Clear Floor or Ground Space.
             A clear floor space complying with 305 positioned for a forward approach shall
             be provided. Knee and toe clearance complying with 306 shall be provided.
             ADAAG 902.3 Height.
             The tops of dining surfaces and work surfaces shall be 28 inches (710 mm)
             minimum and 34 inches (865 mm) maximum above the finish floor or ground.
             ADAAG 306.2 Toe Clearance.
             ADAAG 306.2.3 Minimum Required Depth.
             Where toe clearance is required at an element as part of a clear floor space, the toe
             clearance shall extend 17 inches (430 mm) minimum under the element.
             ADAAG 306.2.5 Width.
             Toe clearance shall be 30 inches (760 mm) wide minimum.
             ADAAG 306.3 Knee Clearance.
             ADAAG 306.3.3 Minimum Required Depth.
             Where knee clearance is required under an element as part of a clear floor space,
             the knee clearance shall be 11 inches deep minimum at 9 inches above the ground,
             and 8 inches deep minimum at 27 inches (685 mm) above the finish floor or
             ground.
             ADAAG 306.3.5 Width.
             Knee clearance shall be 30 inches (760 mm) wide minimum.
      XIV.   Inaccessible exterior waterfront dining area.
      XV.    Accessible route to exterior waterfront dining area. Not provided as required.
      XVI.   Existing step at travel path leading to exterior waterfront dining area. Acts as a
             barrier to accessibility.
     XVII.   Required ramp not provided for step at travel path leading to exterior waterfront
             dining area.
             ADAAG 206.2.5 Restaurants and Cafeterias.



                                               6
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 7 of 13 PageID #: 7




              In restaurants and cafeterias, an accessible route shall be provided to all dining
              areas, including raised or sunken dining areas, and outdoor dining areas.
              ADAAG 206 Accessible Routes ADAAG 206.1 General.
              Accessible routes shall be provided in accordance with 206 and shall comply with
              Chapter 4.
              ADAAG 402 Accessible Routes ADAAG 402.1 General.
              Accessible routes shall comply with 402.
              ADAAG 402.2 Components.
              Accessible routes shall consist of one or more of the following components:
              walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
              curb ramps excluding the flared sides, elevators, and platform lifts. All
              components of an accessible route shall comply with the applicable requirements
              of Chapter 4.
              ADAAG 403 Walking Surfaces ADAAG 403.4 Changes in Level. Changes in
              level shall comply with 303
              ADAAG 303.4 Ramps.
              Changes in level greater than ½ inch high shall be ramped, and shall comply with
              405 or 406.
     XVIII.   Inaccessible exterior dockside waterfront dining area.
      XIX.    Required accessible route to exterior dockside waterfront dining area not
              provided.
       XX.    Existing step at raised ground surface of exterior dockside waterfront dining area
              acts as a barrier to accessibility.
      XXI.    Required ramp not provided for step at raised ground surface of exterior dockside
              waterfront dining area.
           ADAAG 206.2.5 Restaurants and Cafeterias.
           In restaurants and cafeterias, an accessible route shall be provided to all dining
           areas, including raised or sunken dining areas, and outdoor dining areas.
           ADAAG 206 Accessible Routes ADAAG 206.1 General.
           Accessible routes shall be provided in accordance with 206 and shall comply with
           Chapter 4.
           ADAAG 402 Accessible Routes ADAAG 402.1 General.
           Accessible routes shall comply with 402.
           ADAAG 402.2 Components.
           Accessible routes shall consist of one or more of the following components:
           walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
           curb ramps excluding the flared sides, elevators, and platform lifts. All
           components of an accessible route shall comply with the applicable requirements
           of Chapter 4.
           ADAAG 403 Walking Surfaces ADAAG 403.4 Changes in Level. Changes in
           level shall comply with 303
           ADAAG 303.4 Ramps.
           Changes in level greater than ½ inch high shall be ramped, and shall comply with
           405 or 406.
     XXII. Inaccessible dining tables located at exterior dockside waterfront dining area.


                                               7
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 8 of 13 PageID #: 8




     XXIII. Required minimum knee and toe clearance not provided at dining tables located at
            exterior dockside waterfront dining area
     XXIV. A minimum percentage of existing dining tables required to be accessible not
            provided at exterior dockside waterfront dining area.
           ADAAG 226 Dining Surfaces and Work Surfaces ADAAG 226.1 General.
           Where dining surfaces are provided for the consumption of food or drink, at least
           5 percent of the seating spaces and standing spaces at the dining surfaces shall
           comply with 902.
           ADAAG 902 Dining Surfaces and Work Surfaces ADAAG 902.1 General.
           Dining surfaces and work surfaces shall comply with 902.2 and 902.3.
           ADAAG 902.2 Clear Floor or Ground Space.
           A clear floor space complying with 305 positioned for a forward approach shall
           be provided. Knee and toe clearance complying with 306 shall be provided.
           ADAAG 306.2 Toe Clearance.
           ADAAG 306.2.3 Minimum Required Depth.
           Where toe clearance is required at an element as part of a clear floor space, the toe
           clearance shall extend 17 inches (430 mm) minimum under the element.
           ADAAG 306.2.5 Width.
           Toe clearance shall be 30 inches (760 mm) wide minimum.
           ADAAG 306.3 Knee Clearance.
           ADAAG 306.3.3 Minimum Required Depth.
           Where knee clearance is required under an element as part of a clear floor space,
           the knee clearance shall be 11 inches deep minimum at 9 inches above the ground,
           and 8 inches deep minimum at 27 inches (685 mm) above the finish floor or
           ground.
           ADAAG 306.3.5 Width.
           Knee clearance shall be 30 inches (760 mm) wide minimum.
     XXV. Inaccessible men's restroom.
     XXVI. Required minimum clear width not provided at door of men's restroom.
           ADAAG 206 Accessible Routes ADAAG 206.1 General.
           Accessible routes shall be provided in accordance with 206 and shall comply with
           Chapter 4.
           ADAAG 402 Accessible Routes ADAAG 402.1 General.
           Accessible routes shall comply with 402.
           ADAAG 402.2 Components.
           Accessible routes shall consist of one or more of the following components:
           walking surfaces with a running slope not steeper than 1:20, doorways, ramps,
           curb ramps excluding the flared sides, elevators, and platform lifts. All
           components of an accessible route shall comply with the applicable requirements
           of Chapter 4.
           ADAAG 404.2.3 Clear Width.
           Door openings shall provide a clear width of 32 inches (815 mm) minimum. Clear
           openings of doorways with swinging doors shall be measured between the face of
           the door and the stop, with the door open 90 degrees.
    XXVII. Non-compliant door swing of door at men's restroom.


                                              8
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 9 of 13 PageID #: 9




   XXVIII. Restroom door swings into the floor space of lavatory in men's restroom.
           ADAAG 603 Toilet and Bathing Rooms ADAAG 603.1 General.
           Toilet and bathing rooms shall comply with 603.
           ADAAG 603.2.3 Door Swing.
           Doors shall not swing into the clear floor space or clearance required for any
           fixture.
     XXIX. Non-compliant door knob at door of men's restroom requires twisting of the wrist.
           ADAAG 404 Doors, Doorways, and Gates ADAAG 404.1 General.
           Doors, doorways, and gates that are part of an accessible route shall comply with
           404.
           ADAAG 404.2.7 Door and Gate Hardware.
           Handles, pulls, latches, locks, and other operable parts on doors and gates shall
           comply with 309.4
           ADAAG 309.4 Operation.
           Operable parts shall be operable with one hand and shall not require tight
           grasping, pinching,
           or twisting of the wrist. The force required to activate operable parts shall be 5
           pounds maximum.
     XXX. Inaccessible toilet compartment in men's restroom.
     XXXI. Required minimum clear width not provided at door of toilet compartment in
           men's restroom.
             ADAAG 604 Water Closets and Toilet Compartments.
             ADAAG 604.8 Toilet Compartments.
             Wheelchair accessible toilet compartments shall meet the requirements of 604.8.1
             and 604.8.3. Compartments containing more than one plumbing fixture shall
             comply with 603.
             Ambulatory accessible compartments shall comply with 604.8.2 and 604.8.3.
             ADAAG 604.8.1.2 Doors.
             Toilet compartment doors, including door hardware, shall comply with 404 except
             that if the approach is to the latch side of the compartment door, clearance
             between the door side of the compartment and any obstruction shall be 42 inches
             (1065 mm) minimum.
             Doors shall be located in the front partition or in the side wall or partition farthest
             from the water closet. Where located in the front partition, the door opening shall
             be 4 inches (100 mm) maximum from the side wall or partition farthest from the
             water closet. Where located in the side wall or partition, the door opening shall be
             4 inches (100 mm) maximum from the front partition. The door shall be self-
             closing. A door pull complying with 404.2.7 shall be placed on both sides of the
             door near the latch. Toilet compartment doors shall not swing into the minimum
             required compartment area.
             ADAAG 404.2.3 Clear Width.
             Door openings shall provide a clear width of 32 inches (815 mm) minimum. Clear
             openings of doorways with swinging doors shall be measured between the face of
             the door and the stop, with the door open 90 degrees.


                                               9
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 10 of 13 PageID #: 10




    XXXII. Non-compliant door swing of door of toilet compartment in men's restroom.
    XXXIII. Door of toilet compartment in men's restroom swings into the compartment.
           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.8.1.2 Doors.
           Toilet compartment doors, including door hardware, shall comply with 404 except
           that if the approach is to the latch side of the compartment door, clearance
           between the door side of the compartment and any obstruction shall be 42 inches
           (1065 mm) minimum. Doors shall be located in the front partition or in the side
           wall or partition farthest from the water closet. Where located in the front
           partition, the door opening shall be 4 inches (100 mm) maximum from the side
           wall or partition farthest from the water closet. Where located in the side wall or
           partition, the door opening shall be 4 inches (100 mm) maximum from the front
           partition. The door shall be self-closing. A door pull complying with 404.2.7 shall
           be placed on both sides of the door near the latch. Toilet compartment doors shall
           not swing into the minimum required compartment area.
    XXXIV. Required minimum space not provided in toilet compartment in men's restroom.
           ADAAG 604 Water Closets and Toilet Compartments.
           ADAAG 604.8 Toilet Compartments.
           Wheelchair accessible toilet compartments shall meet the requirements of 604.8.1
           and 604.8.3. Compartments containing more than one plumbing fixture shall
           comply with 603. Ambulatory accessible compartments shall comply with 604.8.2
           and 604.8.3.
           ADAAG 604.8.1.1 Size.
           Wheelchair accessible compartments shall be 60 inches (1525 mm) wide
           minimum measured perpendicular to the side wall, and 56 inches (1420 mm) deep
           minimum for wall hung water closets and 59 inches (1500 mm) deep minimum
           for floor mounted water closets measured perpendicular to the rear wall.
    XXXV. Inaccessible water closet in toilet compartment in men's restroom.
    XXXVI. Required minimum clearance not provided at water closet in toilet compartment
           in men's restroom.
            ADAAG 604 Water Closets and Toilet Compartments
            ADAAG 604.3 Clearance.
            Clearances around water closets and in toilet compartments shall comply with
            604.3.
            ADAAG 604.3.1 Size.
            Clearance around a water closet shall be 60 inches (1525 mm) minimum
            measured perpendicular from the side wall and 56 inches (1420 mm) minimum
            measured perpendicular from the rear wall.
    XXXVII. Required grab bars not provided on rear and side walls of water closet in toilet
            compartment in men's restroom.
               ADAAG 604 Water Closets and Toilet Compartments
               ADAAG 604.5 Grab Bars.
               Grab bars for water closets shall comply with 609.



                                              10
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 11 of 13 PageID #: 11




            Grab bars shall be provided on the side wall closest to the water closet and on the
            rear wall.
   XXXVIII. Inaccessible urinal in men's restroom.
    XXXIX. Non-compliant height of wall mounted urinal exceeds maximum height
            allowance.
             ADAAG 605 Urinals
             ADAAG 605.1 General.
             Urinals shall comply with 605.
             ADAAG 605.2 Height and Depth.
             Urinals shall be the stall-type or the wall-hung type with the rim 17 inches (430
             mm) maximum above the finish floor or ground. Urinals shall be 13½ inches (345
             mm) deep minimum measured from the outer face of the urinal rim to the back of
             the fixture
         XL. Insulation of pipes and water lines under the lavatory in men's restroom not
             provided as required.
             ADAAG 606 Lavatories and Sinks.
             ADAAG 606.5 Exposed Pipes and Surfaces.
             Water supply and drain pipes under lavatories and sinks shall be insulated or
             otherwise configured to protect against contact. There shall be no sharp or
             abrasive surfaces under lavatories and sinks.
       XLI. Inaccessible paper towel dispenser in men's restroom.
       XLII. Non-compliant mounted height of paper towel dispenser in men's restroom
             exceeds maximum height allowance.
               ADAAG Advisory 606.1 General.
               If soap and towel dispensers are provided, they must be located within the reach
               ranges specified in 308.
               ADAAG 308.2 Forward Reach. ADAAG 308.2.1 Unobstructed.
               Where a forward reach is unobstructed, the high forward reach shall be 48 inches
               maximum and the low forward reach shall be 15 inches minimum above the finish
               floor or ground.
               ADAAG 308.2.2 Obstructed High Reach.
               Where a high forward reach is over an obstruction, the clear floor space shall
               extend beneath the element for a distance not less than the required reach depth
               over the obstruction. The high forward reach shall be 48 inches maximum where
               the reach depth is 20 inches maximum. Where the reach depth exceeds 20 inches,
               the high forward reach shall be 44 inches maximum and the reach depth shall be
               25 inches maximum.
               ADAAG 308.3 Side Reach. ADAAG 308.3.1 Unobstructed.
               Where a clear floor or ground space allows a parallel approach to an element and
               the side reach is unobstructed, the high side reach shall be 48 inches maximum
               and the low side reach shall be 15 inches minimum above the finish floor or
               ground.
               ADAAG 308.3.2 Obstructed High Reach.



                                              11
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 12 of 13 PageID #: 12




               Where a clear floor or ground space allows a parallel approach to an element and
               the high side reach is over an obstruction, the height of the obstruction shall be 34
               inches maximum and the depth of the obstruction shall be 24 inches maximum.
               The high side reach shall be 48 inches maximum for a reach depth of 10 inches
               maximum. Where the reach depth exceeds 10 inches, the high side reach shall be
               46 inches maximum for a reach depth of 24 inches maximum.
        XLIII. Inaccessible mirror in men's restroom.
        XLIV. Non-compliant mounted height of mirror in men's restroom exceeds maximum
               height allowance.
                 ADAAG 603.3 Mirrors.
                 Mirrors located above lavatories or countertops shall be installed with the bottom
                 edge of the reflecting surface 40 inches (1015 mm) maximum above the finish
                 floor or ground.
                 Mirrors not located above lavatories or countertops shall be installed with the
                 bottom edge of the reflecting surface 35 inches (890 mm) maximum above the
                 finish floor or ground.


         16.     The above listing may not include all the barriers countered by Plaintiff and/or

 which exist at the facility. Plaintiff requires an inspection of the facility to determine all the

 ADA violations.

         17.     The removal of the ADA violations set forth herein is readily achievable and can

 be accomplished and carried out without much difficulty or expense. 42 U.S.C. §

 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, § 36.304.

         18.     Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

 reasonably anticipates that he will continue to suffer irreparable harm unless and until

 Defendants are required to remove the physical barriers, dangerous conditions and ADA

 violations that exist at the facility, including those set forth herein.

         19.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

 prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

 and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.




                                                    12
Case 1:24-cv-02735-NGG-SJB Document 1 Filed 04/12/24 Page 13 of 13 PageID #: 13




         20.     Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

 injunctive relief to Plaintiff, including an order to alter the subject facility to make it readily

 accessible to and useable by individuals with disabilities to the extent required by the ADA, and

 closing the subject facility until the requisite modifications are completed.

         WHEREFORE, Plaintiff respectfully requests that the Court issue a permanent

 injunction enjoining Defendants from continuing their discriminatory practices, ordering

 Defendants to remove the physical barriers to access and alter the subject Facility to make it

 readily accessible and useable by individuals with disabilities to the extent required by the ADA,

 closing the subject Facility until the barriers are removed and requisite alterations are completed,

 and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation expenses

 incurred in this action.

         Dated: April 12, 2024

                                                   Respectfully submitted,

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